     Case 5:22-cv-00094-FWS-SHK Document 77 Filed 04/14/22 Page 1 of 3 Page ID #:913




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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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       EMPYREAL ENTERPRISES, LLC,                Case No. 5:22-cv-00094-JWH-SHKx
11     d/b/a EMPYREAL LOGISTICS
                                                 ORDER GRANTING STIPULATION TO
12                                               EXTEND TIME FOR SHERIFF TO
                                                 RESPOND TO FIRST AMENDED
13                       Plaintiff,              COMPLAINT
14

15                        v.
                                                 Honorable District Court Judge
16                                               John W. Holcomb
       The United States of America; the
17     U.S. Department of Justice; Attorney      Honorable Magistrate Judge
       General MERRICK GARLAND, in               Shashi H. Kewalramani
18
       his official capacity; the Federal
19     Bureau of Investigation;
       CHRISTOPHER A. WRAY, Director
20
       of the Federal Bureau of Investigation,
21     in his official capacity; KRISTI
       KOONS JOHNSON, Assistant
22
       Director of the Federal Bureau of
23     Investigation overseeing the FBI’s Los
       Angeles Field Office, in her official
24
       capacity; the Drug Enforcement
25     Administration; ANNE MILGRAM,
26
       Administrator of the Drug
       Enforcement Administration, in her
27     official capacity; SHANNON D.
28                                        1
       ORDER GRANTING STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST
                                AMENDED COMPLAINT
     Case 5:22-cv-00094-FWS-SHK Document 77 Filed 04/14/22 Page 2 of 3 Page ID #:914




 1     DICUS, San Bernardino County
 2
       Sheriff-Coroner, in his official
       capacity as the head of the San
 3     Bernardino County Sheriff’s Office.
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                         Defendants.
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       ORDER GRANTING STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST
                                AMENDED COMPLAINT
     Case 5:22-cv-00094-FWS-SHK Document 77 Filed 04/14/22 Page 3 of 3 Page ID #:915




 1          Having considered the Stipulation to Extend Time for Sheriff to Respond to First
 2    Amended Complaint, and good cause showing, is it is hereby ORDERED as follows:
 3          1.    The Stipulation is GRANTED.
 4          2.    Defendant SHANNON D. DICUS, San Bernardino County Sheriff-
 5    Coroner, in his official capacity, shall file a response to Plaintiff EMPYREAL
 6    ENTERPRISES, LLC d/b/a EMPYREAL LOGISTICS’s First Amended Complaint on
 7    or before May 13, 2022.
 8          IT IS SO ORDERED.
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10    DATED: April 14, 2022
11
                                            John W. Holcomb
12                                          UNITED STATES DISTRICT JUDGE
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       ORDER GRANTING STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST
                                AMENDED COMPLAINT
